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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 THE CITY OF PHILADELPHIA                                          CIVIL ACTION

           v.                                                      NO. 17-3894

 JEFFERSON BEAUREGARD SESSIONS
 III, ATTORNEY GENERAL OF THE
 UNITED STATES

                                          SCHEDULING ORDER – NO. 2

          AND NOW, this 29th day of September, 2017, following the Plaintiff filing a Motion for a

Preliminary Injunction on September 28, 2017, and an unrecorded telephone conference with

counsel this date, and agreement of counsel on the following, it is hereby ORDERED:

          1.        The dates set forth in the Court’s Order of September 12, 2017 for responses to the

Complaint will be STAYED.

          2.        Defendant will file a response to the Motion for Preliminary Injunction, together

with any declarations and/or supporting exhibits by October 12, 2017.

          3.        The Plaintiff will file a reply brief by October 19, 2017.

          4.        Oral argument will take place on October 26, 2017 at 10:00 a.m. in Courtroom 3A.

          5.        The Court will reserve any decision about requiring testimony, particularly if it

appears that there are disputes of material fact presented in the declarations.

                                                                       BY THE COURT:

                                                                       /s/ Michael M. Baylson

                                                                       MICHAEL M. BAYLSON, U.S.D.J.
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